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                         EXHIBIT 7
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 FREDRIC N. ESHELMAN,

         Plaintiff,
                                                   Case No. 4:20-cv-04034
 v.
                                                   JURY DEMANDED
 TRUE THE VOTE, INC.,

         Defendant.


                          DECLARATION OF MEGHAN MCCAIG

        1.      My name is Meghan McCaig. I am of legal age and otherwise competent to make

this declaration.

        2.      I am counsel for Plaintiff Fredric N. Eshelman.

        3.      All of the facts stated in this declaration are true and correct and are based on my

personal knowledge. I acquired my personal knowledge during the course and scope of my work

as counsel for Plaintiff Frederic N. Eshelman.

        4.      I spoke with Brock Akers, counsel for Defendant True the Vote, Inc.

(“Defendant”), on December 9, 2020. He informed me that Defendant opposes a motion for

expedited discovery and a motion for injunctive relief.

        5.      I served a copy of the Verified Motion for Preliminary Injunction and the Motion

for Expedited Discovery on counsel for Defendant via e-mail and facsimile prior to filing those

motions.




Declaration of Meghan McCaig — Page 1
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       6.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       Executed in Dallas, Texas on December 14, 2020.




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                           .       2
